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California Bar No. 166636

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San Diego, California 92101-5008
Telephone: {619) 234-8467

 

 

 

 

 

Attorneys for Defendant Brink

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA
(HON. IRMA E. GONZALEZ)

UNITED STATES OF AMERICA, Criminal No. 95-1985-IEG

Plaintiff, DECLARATION OF
GERARD J. WASSON
Vv. IN SUPPORT OF MOTION FOR
ORDER TO CONTINUE SELF-
AARON BRINK, SURRENDER DATE

 

Defendant.

Mer ee ee ee ee ee ee

 

GERARD J. WASSON declares and states as follows:

1. I aman attorney duly admitted to practice in the courts of
the State of California and in the U.S. District Court for the Southern
District of California. Through Federal Defenders of San Diego, Inc., I
have been appointed to represented the defendant in the above-titled
matter.

2. On February 13, 1996, Mr. Brink pled guilty to Count 1 of
the indictment.

3. On August 19, 1996, this Court imposed a custodial sentence

of thirteen (13) months. At that time the Court made a recommendation to

the Bureau of Prisons that the defendant be designated to the Intensive

 

Confinement Center, Lewisburg, Pennsylvania.

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4, The Court also ordered that the defendant self-surrender to
the United States Marshal’s Service for this district at 4:00 p.m. on
October 18, 1996, or that the defendant shall surrender for service of
sentence at the institution designated by the Bureau of Prisons on or
before October 31, 1996, at 4:00 p.m.

5. I have been in constant communication with the defendant
and BOP personnel in order to facilitate the defendant’s ICC placement.

6. On October 16, 1996, I spoke with Barbara Alfred, a BOP
employee at the MCC, who informed me that the BOP was starting a new ICC
program at Lompoc, beginning on December 2, 1996. Ms. Alfred also
advised me that the reporting dates for ICC Lompoc are no earlier than
November 1, and no later than November 22, 1996,

7. Ms. Alfred advised me to obtain a continuance from this

Court so that the defendant can enter into Lompoc ICC during the above

reporting period (i.e., “on or before November 22, 1996").
8. On October 17, 1996, I called Assistant United States
Attorney David Katz and informed him via voice mail message that I would

be requesting a continuance in the self-surrender date in the above
matter, and he has voiced no objections to the continuance request.
FURTHER J DECLARE NOT.
RespectfulNy submitted,

my”

GERARD §. WASSON
Federal{ Defenders of San Diego, Inc.
Attorneys for Defendant Brink

 

 
